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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Kraft Foods Global, Inc., et al.
                                         Plaintiff,
v.                                                        Case No.: 1:11−cv−08808
                                                          Honorable Steven C. Seeger
United Egg Producers, Inc., et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, November 21, 2023:


        MINUTE entry before the Honorable Steven C. Seeger: During trial, this Court
ruled that the Rule of Reason, not the per se rule, governs the Plaintiffs' claims. (Dckt.
Nos. [527], [539]). And the Court instructed the jury accordingly. The Court will hold a
hearing at 11:30 a.m. to explain in greater detail the basis for this Court's ruling. The
Court does not expect oral argument. The goal is simply to provide a more detailed
explanation. Parties are welcome to participate in person or by phone. Members of the
public and media will be able to call in to listen to this hearing. The call−in number is
(888) 684−8852 and the access code is 9369830. Persons granted remote access to
proceedings are reminded of the general prohibition against photographing, recording, and
rebroadcasting of court proceedings. Violation of these prohibitions may result in
sanctions, including removal of court issued media credentials, restricted entry to future
hearings, denial of entry to future hearings, or any other sanctions deemed necessary by
the Court. Mailed notice. (jjr, )




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